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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND


CIMON LOVESS

                     Plaintiff,

      v.                                         Civil Action No.

EMBRACE HOME LOANS
INOVA FEDERAL CREDIT UNION
CITIWORTH MORTGAGE LLC
OTTNO INC.
ONEMAIN FINANCIAL, INC.
PROSPER MARKETPLACE INC.
AMERICAN EXPRESS INT'L CORP
DISCOVER FINANCIAL SERVICES
DISCOVERY BANK
BANK OF AMERICA, N.A.
TLG/POINT BREEZE CREDIT UNION
BAYCOUNTRY CONSUMER FIN., INC.
RMK FINANCIAL CORP
LOANDEPOT.COM, LLC
PARAMOUNT EQUITY MORTGAGE
CREDIT ONE FINANCIAL
CHASE CARD
SANTANDER CONSUMER USA
SECURITYPLUS FEDERAL CREDIT UNION
PROSPER/WEBBANK
LENDINGCLUB CORPORATION
THE TRAVELERS COMPANIES, INC.
NRRM, LLC
NATIONAL AUTO INSPECTION
FIRST USA BANKCORP INC
DYNAMIC RECOVERY SOLS, LLC
CITIBANK, N.A.

                     Defendants.

                                   NOTICE OF REMOVAL

       Defendants Discover Financial Services and Discover Bank (collectively, the "Discover

Defendants"), by their undersigned counsel, Ballard Spahr LLP, hereby provide notice pursuant

to 28 U.S.C. §§ 1441 and 1446 of the removal of the above-captioned case from the Circuit
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Court for Baltimore County, Maryland to the United States District Court for the District of

Maryland. As grounds for removal, the Discover Defendants states as follows:

                                            Background

       1.        On or about May 31, 2017, Plaintiff Cimon Lovess ("Plaintiff) filed a Complaint

in the Circuit Court for Baltimore County, Maryland (the "Complaint"). A true and correct copy

of the Complaint is attached as Exhibit 'A'.

       2.        Plaintiffs Complaint alleges a cause of action under the Fair Credit Reporting Act

("FCRA") 15 U.S.C. § 1681, et. seq.

       3.        On or about July 5, 2017, Plaintiff served the Discover Defendants with process.

                                  Federal Question Jurisdiction

       4.        This Court has original jurisdiction under 28 U.S.C. § 1331 as Plaintiff alleges

violations of a claim or right arising under the laws of the United States.

       5.        Specifically, the Plaintiffs Complaint alleges violations of the FCRA, 15 U.S.C. §

1681, et. seq.

       6.        Therefore, this action is subject to removal pursuant to 28 U.S.C. §§ 1331 and 1441

at the request of the Discover Defendants, because Plaintiffs claims arise under the laws of the

United States.

                                                   Venue

        7.       Under 28 U.S.C. § 1441(a), the United States District Court for the District of

Maryland is the proper venue for removal because this suit is pending in the Circuit Court for

Baltimore County, Maryland, which lies within the judicial district over which District Court for

the District of Maryland presides.




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                                         Procedural Compliance

       8.      Removal of this action is timely. 28 U.S.C. § 1446(b) provides that, "[t]he notice

of removal of a civil action or proceeding shall be filed within thirty days after the receipt by the

defendant, through service or otherwise, of a copy of the initial pleading setting forth the claim

for relief upon which such action or proceeding is based[.]" This Notice of Removal is being

filed with the United States District Court for the District of Maryland within thirty (30) days

after the Discover Defendants first received notice of the filing of the Complaint.

       9.      The Discover Defendants attach to this Notice of Removal as Exhibit A, and

incorporate by reference, a copy of Plaintiff s Complaint. The Complaint is the only "process,

pleadings or orders" obtained by the Discover Defendants in this action. 28 U.S.C. § 1446(a). A

copy of the Complaint is also filed herewith in a PDF image file.

        10.     Discover has attempted to obtain the consent of the other named defendants to

remove this action. However, upon information and belief, no other named defendant has been

properly served with the Complaint as of the date of this Notice of Removal.               Discover

confirmed this by telephone with the clerk of the Circuit Court of Baltimore County, who

advised that as of this date, no affidavits of service have been filed in connection with this

matter. Accordingly, consent of the other named defendants is not required to remove the action

to this Court. 28 U.S.C. § 1446(b)(2)(A) ("When a civil action is removed solely under section

1441(a), all defendants who have been properly joined and served must join in or consent to the

removal of the action.") (emphasis added).

        11.     The Discover Defendants are serving contemporaneously with this filing a copy

of this Notice of Removal upon Plaintiff. The Discover Defendants will also file with the Clerk

for the Circuit Court for Baltimore County, Maryland a Notice of Filing of Notice of Removal,




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as required by 28 U.S.C. § 1446(d). A true and correct copy of the Notice of Filing of Notice of

Removal (without exhibits) is attached hereto as Exhibit B.

       12.     By filing a Notice of Removal in this matter, the Discover Defendants do not

waive their right to object to service of process, the sufficiency of process, jurisdiction over the

person, or venue. No admission of fact, law, or liability is intended by this Notice, and the

Discover Defendants specifically reserve the right to assert any defenses and/or objections to

which it may be entitled.

       13.     Based upon the foregoing, this Court has jurisdiction over this matter pursuant to

28 U.S.C. § 1331, and this action is properly removed to this Court.

       WHEREFORE, the Discover Defendants hereby gives notice that the above-captioned

action, currently pending in the Circuit Court for Baltimore County, Maryland, is hereby

removed to this Court.

                                              Respectfully submitted,



Dated: August 4, 2017

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                                              Attorneys for Defendants Discover Financial
                                              Services and Discover Bank




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                                CERTIFICATE OF SERVICE

       This is to certify that on this 4th day of August, 2017,1 caused a true and correct copy of

the foregoing Notice of Removal to be delivered via first-class mail, postage prepaid, upon the

following:

                                          Cimon Lovess
                                      5546 Charming Road
                                      Baltimore, MD 21229




DM EAST #30255345 v1
